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             IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
EPSILON ENERGY USA, INC.,   :                  Civil No. 1:21-CV-00433
                            :
        Plaintiff,          :
                            :
        v.                  :
                            :
CHESAPEAKE APPALACHIA, LLC, :
                            :
        Defendant.          :                  Judge Jennifer P. Wilson
                                     ORDER
     AND NOW, on this 26th day of March, 2021, as discussed during the status

conference on March 26, 2021, IT IS ORDERED AS FOLLOWS:

  1. On or before April 1, 2021, the parties shall report to the court as to whether

     Defendant has agreed to sign the SRBC letter discussed during the March

     26, 2021 status conference.

  2. If no agreement has been reached regarding the SRBC letter, Plaintiff shall

     file a letter brief as to its request to compel Defendant to sign the SRBC

     letter on or before April 2, 2021 at 12:00 p.m. Defendant may file a letter

     brief in opposition to Plaintiff’s letter brief on or before April 5, 2021 at

     12:00 p.m. Plaintiff may then file a reply letter brief on or before April 6,

     2021 at 12:00 p.m.

  3. All of the letter briefs mentioned in the preceding paragraph shall be no

     more than three pages in length, and may be single-spaced at counsel’s

     discretion.

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4. Defendant’s unopposed motion for extension of time (Doc. 22) is

   GRANTED. The briefing schedules regarding Plainiff’s motion for

   expedited discovery and Plaintiff’s motion for preliminary injunction are

   extended as set forth below.

5. Defendant’s brief in opposition to Plaintiff’s motion for expedited discovery

   (Doc. 10) shall be filed on or before April 5, 2021. Plaintiff may file a reply

   brief in support of the motion for expedited discovery on or before April 9,

   2021.

6. Defendant’s brief in opposition to Plaintiff’s motion for preliminary

   injunction (Doc. 7) shall be filed on or before April 9, 2021. Plaintiff may

   file a reply brief in support of the motion for preliminary injunction on or

   before April 16, 2021.

7. A hearing on Plaintiff’s motion for preliminary injunction is SCHEDULED

   for April 27, 2021 at 9:30 a.m. All logistics for the preliminary injunction

   hearing, including whether the hearing will proceed in person or remotely,

   shall be determined at a later date.



                                    s/Jennifer P. Wilson
                                    JENNIFER P. WILSON
                                    United States District Court Judge
                                    Middle District of Pennsylvania



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